 

Case: 1:09-cv-01221 Document #: 78 Filed: 05/14/09 Page 1 of 1 PagelD #:55

A securities fraud class action suit has
been filed in the United States District
Court for the Northern District of Itlinots
captioned Schaufenbuel, et al. v.
inyestForClosures Financial, LLC, et al,
Case No, 09-cy-1221. The case is
currently pending. Plaintiffs allege that
various entities known as
“InvestForClosures,” “ROW” or “Sands of
AFFIDAVIT Gold” as lead by Frank Sanchez and Jim
Bourassa sold securities in a Ponzi
scheme and stole investors money. The |.
proposed class includes all persons who
invested money with Sanchez and any of
the IFC entities during the period July 1,
1999 through December 31, 2008.
Excluded from the Class is any Defendant

STATE OF TEXAS ) and any member, officer or director of
) Ss: Defendants.
CITY AND COUNTY OF DALLAS) '

I, Erin Ostenson, being duly sworn, depose and say that I am the Advertising Clerk of the
Publisher of THE WALL STREET JOURNAL, a daily national newspaper of general
circulation throughout the United States, and that the Notice attached to this Affidavit has
been regularly published in THE WALL STREET JOURNAL for national distribution
for one insertion(s) on the following date(s): May 11, 2009; advertiser: InvestForClosures

Financial, LLC, et al.; and that the foregoing statements are true and correct to the best of

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my knowledge.

Sworn to before me this
11th day of May, 2009.

Notary Public

 

 

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ALBERT FOX
Notary Public, State of Texas
PN My Commission Expires
“tage ES February 15, 2012

     
 

  
       

 

 

 

 

 

 

 
